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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                              VALDOSTA DIVISION

THE B & F SYSTEM, INC.,
            Plaintiff,
v.                                                Civil Action No. 7:07-CV-192 (HL)
LLOYD J. LEBLANC JR., MAXAM
WHOLESALE OF ATLANTA, INC., DIRECT
SOURCE IMPORTS, INC., ARTHUR
JEFFREY LEBLANC, LLOYD LEBLANC III,
PRODUCTOS MEXICANOS DON JOSE,
INC., LEBLANC’S LLC, and EDNA G.
LEBLANC,
            Defendants.

                                       ORDER

      This case is before the Court on the following motions: (1) Defendants’ Motion

for Judgment as a Matter of Law, for Equitable Revision Pursuant to 15 U.S.C. §

1117(a), and/or in the alternative, for New Trial, or Partial New Trial, or Remittitur

(Doc. 296); (2) Plaintiff’s Motion for Statutory Damages (Doc. 299); (3) Plaintiff’s

Motion for Permanent Injunctive Relief (Doc. 300); and (4) Plaintiff’s Motion for

Attorney’s Fees (Doc. 303).

      Upon consideration, the Court rules as follows:

      (1)     Defendants’ Motion for Judgment as a Matter of Law, for Equitable

Revision Pursuant to 15 U.S.C. § 1117(a), and/or in the alternative, for New Trial, or

Partial New Trial, or Remittitur (Doc. 296) is denied.

      (2)     Plaintiff’s Motion for Statutory Damages (Doc. 299) is granted, in part,

and denied, in part.
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      (3)    Plaintiff’s Motion for Permanent Injunctive Relief (Doc. 300) is granted,

in part, and denied, in part.

      (4)    Plaintiff’s Motion for Attorney’s Fees (Doc. 303) is granted, in part, and

denied, in part.

I.    BACKGROUND

      This case was tried in three phases to a jury beginning on January 17, 2012.

On January 23, 2012, the jury returned its Phase I verdict. On February 3, 2012, the

jury returned its Phase II verdict and Phase III verdict. In Phase II, the jury found that:

(1) Lloyd LeBlanc was liable for breach of the Maxam Independent Distributor

Agreement (“MIDA”); (2) Lloyd LeBlanc was liable for breach of the Service Mark

License Agreement (“SMLA”); (3) Productos Mexicanos Don Jose, Inc. (“PMDJ”) and

Direct Source Imports, Inc. (“DSI”) tortiously interfered with the contractual

relationship between Lloyd LeBlanc and Plaintiff established by the MIDA; (4) Edna

LeBlanc, Jeff LeBlanc, Jody LeBLanc, PMDJ, and DSI tortiously interfered with the

contractual relationship between Lloyd LeBlanc and Plaintiff established by the

SMLA; (5) Lloyd LeBlanc, Jeff LeBlanc, Jody LeBlanc, Edna LeBlanc, Maxam

Wholesale of Atlanta, Inc. (“MWA”), DSI, and PMDJ infringed on Plaintiff’s “MAXAM”

registered trademark; (6) Lloyd LeBlanc, Jeff LeBlanc, Jody LeBlanc, Edna LeBlanc,

MWA, DSI, and PMDJ infringed on Plaintiff’s lid knob trademark; (7) Lloyd LeBlanc,

Jeff LeBlanc, Jody LeBlanc, Edna LeBlanc, MWA, DSI, and PMDJ infringed on

Plaintiff’s “MAXAM WHOLESALE” trademark; (8) Jeff LeBlanc, Jody LeBlanc, DSI,

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and PMDJ were liable for false designation of origin/unfair competition; (9) Jeff

LeBlanc, Jody LeBlanc, DSI, and PMDJ violated the Georgia Uniform Deceptive

Trade Practices Act; (10) Jeff LeBlanc violated the Anticybersquatting Consumer

Protection Act (“ACPA”); (11) Lloyd LeBlanc, Edna LeBlanc, Jeff LeBlanc, and Jody

LeBlanc engaged in a civil conspiracy; (12) DSI and PMDJ engaged in a common

business enterprise; and (13) Jody LeBlanc and Jeff LeBlanc are personally liable

for any trademark infringement, false designation of origin/unfair competition, and

torts committed by PMDJ and DSI.

      The jury found that the Lanham Act violations were malicious, fraudulent,

deliberate, or willful. The jury also found that with regard to the Georgia Uniform

Deceptive Trade Practices Act claim, the liable Defendants willfully engaged in the

trade practice knowing it to be deceptive. The jury also determined that Jeff

LeBlanc’s ACPA violations were malicious, fraudulent, deliberate, or willful.

      The jury returned verdicts for Plaintiff on each of Lloyd LeBlanc’s

counterclaims. The jury also returned defense verdicts in favor of LeBlanc’s, LLC on

all claims brought against it by Plaintiff.

      As for damages, the jury awarded $72,114 on the breach of the MIDA claim,

$35,665 on the breach of the SMLA claim, $7,500 on the MIDA tortious interference

claim against DSI, $35,665 on the SMLA tortious interference claim against Jeff

LeBlanc, $35,665 on the SMLA tortious interference claim against Jody LeBlanc,

$35,665 on the SMLA tortious interference claim against PMDJ, $57,066 on the

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SMLA tortious interference claim against DSI, $600,000 in actual damages on the

Lanham Act claims, $357,040 in profits on the Lanham Act claims, $96,000 in actual

damages on the ACPA claim, and $96,000 in profits on the ACPA claim.

       In their Phase III verdict, the jury declined to award any punitive damages to

Plaintiff.

       Defendants have now renewed their prior motions for judgment as a matter of

law under Federal Rule of Civil Procedure 50. Defendants have also moved for

equitable revisions of the jury’s Lanham Act verdicts pursuant to 15 U.S.C. §

1117(a). In the alternative, Defendants request a new trial under Federal Rule of

Civil Procedure 59, or a remittitur.1

II.    DEFENDANTS’ MOTION FOR JUDGMENT AS A MATTER OF LAW, FOR
       EQUITABLE REVISION PURSUANT TO 15 U.S.C. § 1117(a), AND/OR IN
       THE ALTERNATIVE, FOR NEW TRIAL, OR PARTIAL NEW TRIAL, OR
       REMITTITUR2

       A.     Renewed Motion for Judgment as a Matter of Law

       Federal Rule of Civil Procedure 50 provides that “[a] party’s motion for

judgment as a matter of law can be granted at the close of evidence or, if timely




1
 Looking at Defendants’ motion, it appears the Court did not get anything right during the
entire three week trial. The Court has endeavored to address every error raised by
Defendants.
2
  On May 8, 2012, the Court entered a text order denying Defendants’ motion for leave to
file excessive pages for its reply brief. In an obvious effort to flout the Court’s ruling,
Defendants filed a reply brief written in 10-point font without a proper full case caption.
These efforts did not go unnoticed by the Court.
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renewed, after the jury has returned its verdict, as long as ‘there is no legally

sufficient evidentiary basis for a reasonable jury to find’” for the non-moving party.

Chaney v. City of Orlando, Fla., 483 F.3d 1221, 1227 (11th Cir. 2007) (quoting

Lipphardt v. Durango Steakhouse of Brandon, Inc., 267 F.3d 1183, 1186 (11th Cir.

2001) (citing Fed.R.Civ.P. 50)). A jury verdict “must be left intact if there is evidence

from which the decision maker . . . reasonably could have resolved the matter the

way it did.” Rodriguez v. Farm Stores Grocery, Inc., 518 F.3d 1259, 1264 (11th Cir.

2008). Even if the evidence would have supported a verdict for the losing party, “[t]he

issue is not whether the evidence was sufficient for [the losing party] to have won,

but whether the evidence was sufficient for it to have lost.” Id. at 1264-65. A “court

must evaluate all the evidence, together with any logical inferences, in the light most

favorable to the non-moving party.” Beckwith v. City of Dayton Beach Shores, Fla.,

58 F.3d 1554, 1560 (11th Cir. 1995).

      Defendants argue that they are entitled to judgment as a matter of law on the

following: (1) the breach of the MIDA claim against Lloyd LeBlanc; (2) the tortious

interference claim against Edna LeBlanc, Jody LeBlanc, Jeff LeBlanc, PMDJ, and

DSI as to the SMLA; (3) the tortious interference claim against PMDJ and DSI as to

the MIDA; (4) the jury’s finding that the lid knob trademark is a valid trademark; (5)

the jury’s finding that Defendants infringed on the lid knob trademark; (6) the jury’s

finding that “MAXAM WHOLESALE” was a valid trademark; (7) the jury’s finding that

Plaintiff owned the common law trademark “MAXAM WHOLESALE”; (8) the jury’s

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finding that Defendants infringed on the “MAXAM WHOLESALE” common law

trademark; (9) the false designation of origin/unfair competition claim against Jeff

LeBlanc, Jody LeBlanc, DSI, and PMDJ; (10) the jury’s actual damages award on

the Lanham Act claims; (11) the jury’s finding that the Defendants’ actions in

connection with the Lanham Act claims were malicious, fraudulent, deliberate, or

willful; (12) the jury’s profit award on the Lanham Act claims; (13) the jury’s actual

damages award on the ACPA claim; and (14) the jury’s profits award on the ACPA

claim.3

      Applying the standards set forth for a Rule 50 motion, the Court finds that the

evidence was sufficient to support the jury’s determinations. Defendants are not

entitled to judgment as a matter of law under Rule 50(b).

      B.      Motion for New Trial

      Federal Rule of Civil Procedure 59(a) governs motions for new trial. Pursuant

to Rule 59, a court may grant a new trial “for any reason for which a new trial has

heretofore been granted in an action at law in federal court.” Fed.R.Civ.P.

59(a)(1)(A). A party may seek new trial on the grounds “that the verdict is against the

weight of the evidence, that the damages are excessive, or that, for other reasons,

the trial was not fair to the party moving; and may raise questions of law arising out




3
 Defendants specifically mention Rule 50 and a request for judgment as a matter of law in
connection with these issues.
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of alleged substantial errors in admission or rejection of evidence or instructions to

the jury.” Montgomery Ward & Co. v. Duncan, 311 U.S. 243, 251, 61 S.Ct. 189

(1940). Resolution of a motion for new trial is committed to the discretion of the trial

court. Montgomery v. Noga, 168 F.3d 1282, 1295 (11th Cir. 1999).

      Defendants seek a new trial based on weight of the evidence, alleged errors in

the jury instructions and verdict form, and alleged errors in evidentiary decisions.

             1.     Weight of the evidence

      “A judge should grant a motion for new trial when ‘the verdict is against the

clear weight of the evidence or will result in a miscarriage of justice, even though

there may be substantial evidence which would prevent the direction of a verdict.’”

Lipphardt, 267 F.3d at 1186 (quoting Hewitt v. B.F. Goodrich Co., 732 F.2d 1554,

1556 (11th Cir. 1984)). “Because it is critical that a judge does not merely substitute

his judgment for that of the jury, ‘new trials should not be granted on evidentiary

grounds unless, at a minimum, the verdict is against the great - not merely the

greater - weight of the evidence.’” Lipphardt, 267 F.3d at 1186.

      Defendants contend that the following portions of the jury’s verdict were

against the great weight of the evidence: (1) that Lloyd LeBlanc breached the MIDA

resulting in damages to Plaintiff; (2) that Lloyd LeBlanc breached the SMLA resulting

in damage to Plaintiff; (3) that Plaintiff did not breach the MIDA; (4) that Plaintiff did

not breach the covenant of good faith and fair dealing; (5) that any Defendant

tortiously interfered with any contractual relationship between Lloyd LeBlanc and

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Plaintiff resulting in damage to Plaintiff; (6) that the lid knob trademark is a valid

trademark; (7) that Defendants infringed on the lid knob trademark; (8) that

Defendants infringed on the “MAXAM WHOLESALE” common law trademark; (9)

that Jeff LeBlanc, Jody LeBlanc, DSI, and PMDJ committed false designation of

origin/unfair competition; (10) that Defendants’ actions in connection with the

Lanham Act claims were malicious, fraudulent, deliberate, or willful; (11) the actual

damages verdict on the Lanham Act claims; (12) that Plaintiff was entitled to profits

on the Lanham Act claims; and (13) that Defendants violated the Georgia Uniform

Deceptive Trade Practices Act.4

      Upon review, the Court finds that the evidence was sufficient to support the

verdict. The verdict was not against the clear weight of the evidence, and it will not

result in a miscarriage of justice.

             2.     Jury instructions and verdict form

      A motion for new trial based on erroneous jury instructions is properly granted

only where there is “substantial and ineradicable doubt as to whether the jury was

properly guided in its deliberations.” Johnson v. Barnes & Noble Booksellers, Inc.,

437 F.3d 1112, 1115 (11th Cir. 2006) (citation omitted). The question is “whether the

jury charges, considered as a whole, sufficiently instructed the jury so that the jurors




4
  Defendants specifically mention the “weight of evidence” in connection with these jury
findings. Many are repetitive of those addressed as part of the Rule 50 motion.
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understood the issues and were not misled.” Johnston v. Companion Prop. & Cas.

Ins. Co., 318 F. App’x 861, 864 (11th Cir. 2009). “If the jury instructions accurately

reflect the law, the trial judge is given wide discretion as to the style and wording

employed in the instructions.” Johnson, 437 F.3d at 1115.

      The failure to give a requested jury instruction is error “only if the instruction is

correct, is not adequately covered by the charges given, and deals with a point so

important that failure to give the instruction seriously impaired the defendant’s ability

to present an effective defense.” Adams v. Sewell, 946 F.2d 757, 767 (11th Cir.

1991) (quoting United States v. Hill, 935 F.2d 196, 200 (11th Cir. 1991)).

      The Court also has wide discretion in framing the wording and styling of the

verdict form. See Farley v. Nationwide Mut. Ins. Co., 197 F.3d 1322, 1330 (11th Cir.

1999). Jury instructions and verdict forms are considered together rather than

separately in assessing a motion for a new trial. Id. at 1329.

      Defendants argue that the Court erred by not giving all or portions of its

requests to charge 12, 13, 14B, 26, 36, 36A, 37, 41, 42, 42A, 42B, 45, 51, 53,

supplemental charges 1 and 2, and a stipulation regarding paragraphs 2 and 15 of

the MIDA. Defendants also contend the Court gave numerous incorrect charges,

including the tortious interference with contractual relations charges and certain

Lanham Act charges.

      The Court first notes that requests to charge 36A, 42A, and 42B were not

given because they were not timely submitted. As for the other arguments relating to

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the requests to charge, upon review of the record, the Court finds no meritorious

basis for it to grant a new trial based on the jury instructions.

      The Court similarly finds no basis for a new trial in Defendants’ argument

regarding the verdict form. Defendants make a conclusory argument that failure to

use their proposed special interrogatories materially affected their substantial rights

to a fair trial. Such a conclusory argument does not establish grounds for a new trial.

             3.     Evidentiary rulings

      An evidentiary ruling warrants a new trial only if the complaining party’s

substantial rights were affected. Peat, Inc. v. Vanguard Research, Inc., 378 F.3d

1154, 1162 (11th Cir. 2004). Defendants have the burden of proving that an error

“probably had a substantial influence on the jury’s verdict.” United States v.

Stephens, 365 F.3d 967, 977 (11th Cir. 2004) (quotation marks and citation omitted).

      Defendants argue that the Court erred by admitting Plaintiff’s Exhibits 45, 52,

55-58, 60, 82, 200, 218-221, 271, 291-292, 323, and 339 during Phase I of the trial.

These exhibits are purchasing documents.

      Defendants argue that the Court erred by admitting Plaintiff’s Exhibits 61, 63-

69, 83, 85-86, 90-94, 184-185, 187-189, 209, 213-214, 217, 233, 277, 287, 290, 301,

317-319, 321, 342-343, and 456 during Phase II of the trial. These exhibits are also

purchasing documents. Defendants further contend the Court should not have

allowed testimony from Plaintiff about these documents.



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      Defendants contend that the Court erred in allowing testimony from Plaintiff

regarding Paragraph 4 of the MIDA.

      Defendants also contend the Court erred in admitting Plaintiff’s Exhibits 17,

19, 97-98, 101, 105, 108-109, 110-113, 117, and 204 during Phase II of the trial.

These are physical exhibits including baseball caps, cutlery sets, cookware, leather

vests, and leather purses. These exhibits were presented to the jury so they could

compare the products sold by Plaintiff and Defendants.

      Defendants contend the Court erred by allowing testimony from Plaintiff

regarding the MIDA.

      Defendants contend the Court erred by allowing testimony from Plaintiff

concerning alleged compromise settlements of other infringement claims against

Lake Industries and Jillian Distributors.

      Defendants finally argue the Court erred by allowing testimony from John

Meyer about alleged customer confusion and the opinions of customers regarding

the distinctiveness of the lid knob.

      As noted above, to be entitled to a new trial on the basis of the admission or

exclusion of evidence, the moving party must show that the alleged error affected its

substantial rights. To the extent there was any error, Defendants have not shown that

the error resulted in substantial prejudice or substantial injustice. The Court declines

to award a new trial on this ground.

             4.     Other issues

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      Defendants argue that the Court erred by allowing the jury to consider

Paragraph E of the MIDA. Defendants assert that Paragraph E is void. The Court

ruled on that issue prior to trial, finding that the jury could consider Paragraph E.

The Court disagrees with Defendants that judgment as a matter of law on that issue

is required.

      Defendants also argue that the Court erred in changing its pretrial ruling to

extend Paragraph E to electronic customer lists. However, the Court is not prohibited

from revoking or changing pretrial rulings based on the evidence and argument

presented at trial. The Court outlined the reasons it believed it appropriate to change

this particular ruling and finds no reason to grant a new trial on that basis.

      C.       Equitable Revision/Remittitur

      Defendants contend that all of the damages awarded by the jury are

excessive. They have requested that the Court exercise its equitable powers under

15 U.S.C. § 1117(a) and reduce the jury’s verdicts on the Lanham Act claims. They

alternatively request a remittitur of all of the jury’s monetary awards.

      The standard for reviewing jury awards is whether the award “shocks the

conscience of the court.” See Simon v. Shearson Lehman Bros., Inc., 895 F.2d 1304,

1310 (11th Cir. 1990); Sykes v. McDowell, 786 F.2d 1098, 1105 (11th Cir. 1986). A

court which believes the jury’s verdict is excessive may order a new trial unless the

plaintiff agrees to remit a portion of the jury’s award. Johansen v. Combustion Eng’g,

Inc., 170 F.3d 1320, 1328 (11th Cir. 1999). However, “[t]he district judge should not

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substitute his own credibility choices and inferences for the reasonable credibility

choices and inferences made by the jury.” Redd v. City of Phenix City, Ala., 934 F.2d

1211, 1215 (11th Cir. 1991) (citing Rosenfield v. Wellington Leisure Prods., Inc., 827

F.2d 1493, 1498 (11th Cir. 1987)). “When there is some support for a jury’s verdict, it

is irrelevant what we or the district judge would have concluded.” Id.

       Having heard the evidence at trial, and taking into consideration the deference

due the jury’s determination, the Court finds that the jury’s award is not beyond the

realm of reasonableness. The Court declines to reduce or remit the jury’s damage

award.

III.   PLAINTIFF’S MOTION FOR STATUTORY DAMAGES

       As noted above, the jury found that Jeff LeBlanc violated the ACPA through

his use of the domain names maxamwholesale.com and/or maxamwholesale.net

during the time period of May 31, 2007 to June 4, 2011. The jury awarded Plaintiff

$96,000 in actual damages and $96,000 in profits. The jury also found that Jeff

LeBlanc’s actions were malicious, fraudulent, deliberate, or willful.

       Under the ACPA, “the plaintiff may elect, at any time before final judgment is

rendered by the trial court, to recover, instead of actual damages and profits, an

award of statutory damages in the amount of not less than $1,000 and not more than

$100,000 per domain name, as the court considers just.” 15 U.S.C. § 1117(d).

Plaintiff now requests that the Court award statutory damages in the amount of



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$100,000 for maxamwholesale.com and $100,000 for maxamwholesale.net against

Lloyd LeBlanc, Edna LeBlanc, Jeff LeBlanc, and Jody LeBlanc each individually.

      The Court will first address Plaintiff’s request that the statutory damages be

awarded against Lloyd LeBlanc, Edna LeBlanc, Jeff LeBlanc, and Jody LeBlanc

individually. The Court agrees with Defendants that only Jeff LeBlanc can be held

liable for the cyberpiracy damages. Plaintiff never alleged a contributory

cybersquatting claim, and did not allege a conspiracy to commit cybersquatting

claim, if such a thing even exists. The ACPA limits liability to persons who

improperly register or use a domain name, and liability for “using” a domain name

arises “only if [a] person is the domain name registrant or that registrant’s authorized

licensee.” 15 U.S.C. § 1125(d)(1)(D). Jeff LeBlanc registered the domain names,

and under the statute he is the only person that can be held liable. Even though the

jury returned a verdict in favor of Plaintiff on the civil conspiracy charge, the plain

language of the statute limits liability to the registrant of the domain name. Thus, any

damages for the ACPA violation will be limited to Jeff LeBlanc.

      Moving on to the statutory damages request, Plaintiff urges the Court to award

the maximum statutory amount. In general, when a plaintiff seeks statutory damages,

“the court has wide discretion in determining the amount of statutory damages to be

awarded, constrained only by the specified maxima and minima.” Columbia Pictures

Television, Inc. v. Krypton Broad. of Birmingham, Inc., 259 F.3d 1186, 1194 (9th Cir.

2001) (copyright action). The statutory damages are designed to discourage

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wrongful conduct, as well as to afford restitution and reparation for injury. E. & J.

Gallo Winery v. Spider Webs Ltd., 286 F.3d 270, 278 (5th Cir. 2002).

       In finding Jeff LeBlanc liable under the ACPA, the jury determined he acted

with a bad faith intent to profit. The jury also found that Jeff LeBlanc’s actions were

malicious, fraudulent, deliberate, or willful. It is also important in ruling on this issue

to remember that Jeff LeBlanc’s companies were direct competitors of Plaintiff.

       Based on the facts established at trial, the Court finds statutory damages in

the amount of $90,000 for each domain name to be appropriate, for a total sum of

$180,000.

       Plaintiff shall have until July 6, 2012 to make its election between the amounts

awarded by the jury ($96,000 in actual damages and $96,000 in profits) and the

$180,000 in statutory damages as determined by the Court.

IV.    PLAINTIFF’S MOTION FOR PERMANENT INJUNCTIVE RELIEF

       Permanent injunctive relief is generally available under the Lanham Act. 15

U.S.C. § 1116. While injunctions are frequently granted against infringing parties, a

plaintiff is not automatically entitled to an injunction. See Angel Flight of Ga., Inc. v.

Angel Flight Am., Inc., 522 F.3d 1200, 1208 (11th Cir. 2008). In order to obtain

injunctive relief, a plaintiff must demonstrate that:

              (1) it has suffered an irreparable injury;

              (2) remedies available at law, such as monetary damages,
              are inadequate to compensate for that injury;


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               (3) considering the balance of hardships between the
               plaintiff and defendant, a remedy in equity is warranted;
               and

               (4) the public interest would not be disserved by a
               permanent injunction.

Id.

      Thus, the standard for permanent injunctive relief is essentially the same as

for preliminary injunctive relief, except that the movant must show actual success on

the merits instead of a likelihood of success on the merits. Siegel v. Lepore, 234

F.3d 1163, 1213 (11th Cir. 2000). Plaintiff has already been awarded a preliminary

injunction, and has shown actual success on the merits of its trademark infringement

claims.

      Plaintiff has presented a proposed permanent injunction to the Court, which

has been reviewed and considered. The Court believes certain elements of the

proposed injunction are overbroad and declines to implement them. The Court has

crafted its own injunction, and orders that the following permanent injunctive relief is

entered against Lloyd LeBlanc, Edna LeBlanc, Jeff LeBlanc, Jody LeBlanc, PMDJ,

DSI, and MWA (referred to collectively as “Defendants” for purposes of this portion

of the Order), and their respective officers, agents, employees, successors and

assigns, and any other person or entity in active concert or participation with them:




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       (1)    Defendants shall immediately destroy any and all print and electronic

copies of Plaintiff’s master customer list still within their possession, including but not

limited to Plaintiff’s Exhibits 136, 137, and 197.

       (2)   Defendants are permanently enjoined from making use of the contents

of Plaintiff’s master customer list for any and all purposes.

       (3)   Defendants are permanently enjoined from transferring or conveying

Plaintiff’s master customer list to any person or entity.

       (4)   Defendants are permanently enjoined from all use of any name,

designation, or mark containing the phrases “MAXAM” or “MAXAM WHOLESALE,”

or any marks similar thereto or likely to cause confusion therewith, in the

manufacturing, production, marketing, promotion, display, sale, offering for sale,

distribution, or advertising of any products or services.

       (5)   Defendants are permanently enjoined from making any statements or

representations, or using the “MAXAM” or “MAXAM WHOLESALE” marks in any

way, that suggests an affiliation, connection, sponsorship, or association with

Plaintiff.

       (6)   Defendants are ordered to destroy all advertising and promotional

materials or other printed material containing the marks “MAXAM” or “MAXAM

WHOLESALE.”

       (7)   Defendants are permanently enjoined from all advertising, promotion,

and sale of any product containing any steam control lid knob substantially similar to

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Plaintiff’s lid knob depicted in its Supplemental Register lid knob trademark (the

“infringing lid knob”), including but not limited to removing all photographs of such

items          from     www.buydsi.com,          www.heirloomcookware.com,          and

www.kitchenpridecookware.com.

        (8)     Defendants are permanently enjoined from marketing, promoting,

advertising, selling, offering for sale, distributing, or otherwise disposing of any

product containing the infringing lid knob.

        (9)     Defendants are permanently enjoined from destroying, altering,

disposing of, concealing, or tampering with all business records, emails, invoices,

purchase orders, confirmation orders, packing lists, and other information associated

with the purchase, receipt, sale, production, promotion, or other disposition of

products containing the infringing lid knob.

        (10)    Defendants are permanently enjoined from otherwise violating Plaintiff’s

trademark rights.

        (11) Defendants are permanently enjoined from effecting assignments or

transfers, forming new entities or associations, or utilizing any other device for the

purpose of circumventing or otherwise avoiding the prohibitions set forth above.

        (12)    Defendants are permanently enjoined from aiding, abetting, contributing

to, or otherwise assisting from engaging in activities enjoined above.




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IV.   PLAINTIFF’S MOTION FOR ATTORNEY’S FEES

      15 U.S.C. § 1117(a) permits a court to award attorney’s fees “in exceptional

cases.” The Eleventh Circuit has defined an “exceptional case” for purposes of a

Lanham Act fee claim as one where the infringing party acts in a malicious,

fraudulent, deliberate, or willful manner. Burger King Corp. v. Pilgrim’s Pride Corp.,

15 F.3d 166, 168 (11th Cir. 1994); Optimum Techs., Inc. v. Home Depot U.S.A., Inc.,

217 F. App’x 899, 903 (11th Cir. 2007). “Although a case may rise to the level of

exceptionality, the decision to grant attorney fees remains within the discretion of the

trial court.” Burger King, 15 F.3d at 168 (citation omitted). The jury determined that

the liable Defendants’ actions were malicious, fraudulent, deliberate, or willful, and

the Court finds that the circumstances of this case justify a discretionary award of

attorney’s fees under § 1117(a).

      To calculate reasonable attorney’s fees, the court must multiply the “number of

hours reasonably expended on the litigation” and the “reasonable hourly rate” for the

attorney’s services. Hensley v. Eckerhart, 461 U.S. 424, 433, 103 S.Ct. 1933 (1983).

The product of these two numbers is the base figure, or “lodestar.” Pennsylvania v.

Delaware Valley Citizens’ Council, 478 U.S. 546, 563, 106 S.Ct. 3088 (1986). The

court may then account for other considerations that may require an enhancement or

reduction of the fee. See Norman v. Hous. Auth. of Montgomery, 836 F.2d 1292,

1302 (11th Cir. 1988).



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      Factors courts should consider in calculating an award include: (1) the time

and labor required; (2) the novelty and difficulty of the legal questions; (3) the skill

requisite to perform the legal service properly; (4) the preclusion of other

employment by the attorney due to the acceptance of the case; (5) the customary

fee; (6) whether the fee is fixed or contingent; (7) time limitations imposed by the

client or circumstances; (8) the amount involved and the results obtained; (9) the

expertise, reputation and ability of the attorneys; (10) the “undesirability” of the case;

(11) the nature and length of the professional relationship with the client; and (12)

awards in similar cases. Johnson v. Ga. Hwy. Express, Inc., 488 F.2d 714, 717-19

(5th Cir. 1974), abrogated in part on other grounds, Blanchard v. Bergeron, 489 U.S.

87 (1989); see also Cable/Home Comm. Corp. v. Network Prod., Inc., 902 F.2d 829,

853 (11th Cir. 1990).

      The party seeking the fees “bears the burden of establishing entitlement and

documenting the appropriate hours and hourly rates.” ACLU of Ga. v. Barnes, 168

F.3d 423, 427 (11th Cir. 1999). Here, Plaintiff seeks $513,132.41 in attorney’s fees.

      A.     Reasonable Hourly Rates

      Reasonable hourly rates are to be measured by the “prevailing market rates in

the relevant community.” Blum v. Stenson, 465 U.S. 886, 895, 104 S.Ct. 1541

(1984). Prevailing market rates are those rates that are in line with those prevailing

in the community for similar services by lawyers of reasonably comparable skill,

experience, and reputation. Id. at 895. The party seeking fees bears the burden of

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producing “satisfactory evidence that the requested rate is in line with prevailing

market rates.” Loranger v. Stierheim, 10 F.3d 776, 781 (11th Cir. 1994) (quotation

omitted). By “satisfactory evidence,” the Court means “more than the affidavit of the

attorney performing the work.” Id. (quoting Norman, 836 F.2d at 1299)).

      Plaintiff has filed affidavits from Drew DeMott, Charles E. Peeler, Colonel

John P. Sinnott, James Thagard, and Wade Coleman, each of which outlines what

the attorney believes to be reasonable hourly rates for the attorneys and paralegals

who worked on the case. Based on the information provided in the affidavits, along

with the Court’s own familiarity with prevailing rates in the Valdosta market, the Court

finds the following hourly rates to be reasonable: Drew DeMott - $225; James

Thagard - $250; David Garland - $250; Jason Willcox - $225; Kim Minix - $200;

Matthew Eutzler - $175; James Edge - $175; Matthew Monroe - $175; Lee Brown -

$130; Bart Davis - $125; Kimberly Shirley - $75; Ashlee Morris - $55; Jennifer

Walters - $75; and Lindsey Bobby - $75.

      B.     Reasonable Number of Hours

      The second step in calculating the lodestar amount involves determining

whether counsel spent a reasonable number of hours on the case. Excessive,

redundant, or otherwise unnecessary hours should not be included in the calculation.

See Barnes, 168 F.3d at 427.




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      Plaintiff seeks reimbursement for a total of 2,140.6 hours spent litigating the

case. This consists of 2,053.4 hours of attorney time and 87.2 hours of paralegal

time. The Court will address the paralegal time first.

      Plaintiff seeks reimbursement for the following hours billed by paralegals

working on the case: Kimberly Shirley - 7.2 hours; Lindsey Bobby - 7 hours; Jennifer

Walters - 0.6 hours; and Ashlee Morris - 72.4 hours.

      Work by paralegals is recoverable as part of an attorney’s fees award only to

the extent that the paralegal performs work traditionally done by an attorney. Jean v.

Nelson, 863 F.2d 759, 778 (11th Cir. 1988). The Court has closely reviewed the

billing records submitted by Plaintiff and finds that some of the work billed by the

paralegals was clerical in nature, including but not limited to, filing documents on

CM/ECF, creating binders, telephone calls with the Clerk of Court and the

undersigned’s chambers, telephone calls with court reporters, and drafting form

pleadings. Accordingly, the Court has reduced the claimed paralegal time as

appropriate. Plaintiff will be reimbursed for the following hours billed by the

paralegals: Kimberly Shirley - 3.4 hours; Lindsey Bobby - 0 hours; Jennifer Walters -

0.6 hours; and Ashlee Morris - 48.7 hours.5




5
 As discussed further infra, Morris’ hours relating to Plaintiff’s supplement to its fees
motion were also cut.
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      As for attorney time, Plaintiff seeks reimbursement for the following hours

billed by attorneys working on the case: Drew DeMott - 1,662.8 hours; James

Thagard - 13.4 hours; David Garland - 1.5 hours; Jason Willcox - 0.4 hours; Kim

Minix - 0.8 hours; Matthew Eutzler - 14.8 hours; James Edge - 2.9 hours; Matthew

Monroe - 119.1 hours; Lee Brown - 227.2 hours; and Bart Davis - 10.5 hours. For

several reasons, the Court finds that reductions to these claimed hours are

warranted.

      First, some of the claimed hours consist of clerical work. “When reviewing an

application for attorney’s fees, the court may appropriately consider whether the

work performed was legal work in the strict sense or was merely clerical work that

happened to be performed by a lawyer.” Miller v. Kenworth of Dothan, Inc., 117

F.Supp.2d 1247, 1261 (M.D. Ala. 2000) (internal citations and quotations omitted).

The Court may deduct time entries for clerical work performed by an attorney as

excessive. Id. Such work claimed by the attorneys in this case includes but is not

limited to filing documents on CM/ECF, reviewing filing receipts generated by

CM/ECF, and organizing files. The Court has reduced the hours billed accordingly.

      Second, on April 30, 2012, the Court entered an order requiring Plaintiff to

supplement its original attorney’s fees motion. This was because Plaintiff did not

provide proper support for its original motion. The Court does not believe Defendants

should be required to pay attorney’s fees related to Plaintiff’s supplement to its fees

motion. The Court has reduced the hours billed by counsel accordingly.

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       Third, some of the billed entries relate to the separate declaratory judgment

action filed by State Farm. It is inappropriate for those hours to be charged to

Defendants.

       After deducting time for clerical tasks, the supplemental attorney’s fees motion

work, and the declaratory judgment action, the following hours are left for each

attorney: Drew DeMott - 1,637.5 hours; James Thagard - 12.9 hours; David Garland

- 1.5 hours; Jason Willcox - 0 hours; Kim Minix - 0.4 hours; Matthew Eutzler - 14.8

hours; James Edge - 2.0 hours6; Lee Brown - 218.8 hours; Matthew Monroe - 118.6

hours; and Bart Davis - 10.5 hours.

       However, the Court finds that additional reductions to the hours claimed are

required. Some of the attorney time entries are redacted without explanation. The

Court cannot tell if the tasks are compensable or related to the present case. If

Plaintiff believed it necessary to maintain the confidentiality of this information, it

could have moved to file unredacted versions of the billing statements under seal,

but it did not. While some of the entries containing redactions have been reduced by

Plaintiff’s counsel as being “unrelated”, for the majority of the entries the Court

cannot tell if it is the redacted part of the entry that is “unrelated” or something else in

the entry. Thus, the Court has decided to reduce the hours for all entries containing




6
  While Plaintiff claims 2.9 hours for James Edge, the Court can find only 2 billed hours in
the records that have not been eliminated or reduced by counsel.
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redactions by 20 percent. This reduction results in the following revised hours for the

attorneys: Drew DeMott - 1,604.38 hours; James Thagard - 12.9 hours; David

Garland - 1.5 hours; Jason Willcox - 0 hours; Kim Minix - 0.4 hours; Matthew Eutzler

- 14.8 hours; James Edge - 2.0 hours; Lee Brown - 216.54 hours; Matthew Monroe -

118.6 hours; and Bart Davis - 10.44 hours.

      The Court must also address the issue of block billing, which is when counsel

lists all of the day’s tasks in a single entry, without separately identifying the time

spent on each task. The Eleventh Circuit has acknowledged the problems created by

block billing, as that sort of timekeeping “makes it difficult, if not impossible, to

calculate with any precision the number of hours an attorney devoted to a particular

task in [the] litigation.” Barnes, 168 F.3d at 429. The court described block billing as

a “problem” for which the opponent should not be “penalized.” Id.

      In this case, the Court has found it difficult to gauge the reasonableness of

many of the time entries submitted by lead counsel for Plaintiff, Drew DeMott. For

instance, on March 2, 2012, counsel billed 9.9 hours as follows:

             Work on Memorandum of law in Support of Motion for
             Attorney’s Fees; Analyze law regarding treble damages
             and prejudgment interest; Correspondence to Bill, John,
             Tami and Tom re: same; Correspondence with Don and
             Rob re: complying with Interim Injunction; Prepare Notice
             of Filing Portions of Trial Transcript; Work on spreadsheet
             of Attorney’s Fees and Expenses; Work on Motion for
             Attorney’s Fees; Work on Motion for Permanent Injunctive
             Relief, Order and memorandum in Support; Work on
             Motion for Statutory Damages; Work on Memorandum of


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            Law in Support; Work on Motion for Statutory Damages;
            Work on Memorandum of Law in Support
      On July 2, 2010, counsel billed 8.7 hours for the following:

             Work on discovery production; Work on examinations of
             Jody LeBlanc and Lloyd LeBlanc based on new evidence;
             Work on damages methodology and calculations; Work on
             obtaining catalogs and tabloids; Receive and review email
             from Bill Meyer regarding tax returns; Correspond with Bill
             and John regarding damages; Telephone conference with
             John regarding production issues; Receive and review
             confirmation of service of subpoenas on Haywood House,
             American Surgical Steel, Steve Muscella, and TNT School
             Sup.; Correspond with Don and Rob regarding discovery
             issues; Telephone conference with M. Wagner regarding
             subpoena responses; Prepare subpoenas to Marion
             Chappell, Leather and Lace of Rome, Jose & Maria Coss,
             Direct Buy of Atlanta, Fortune Valley Hotel & Casino,
             American Marketing, Inc., and David Ramon;
             Correspondence to Don and Rob regarding supplementing
             responses to DSI, Jeff, and Jody’s discovery;
             Correspondence to Don and Rob regarding supplementing
             responses to Edna’s discovery; Receive and preliminarily
             review Robert G Marshall subpoena response; Telephone
             calls to Don regarding production issues; Email to Don
             and Rob regarding same

      Similar blocked entries are found throughout DeMott’s time entries.7 It is

impossible for the Court to determine how much time was spent on each task, which

makes determining reasonableness difficult. The Court recognizes that it can be an




7
  For a small sample of the block billing found throughout the statements, see the entries
for November 29, 2007, December 5, 2007, December 18, 2007, February 19, 2008,
March 13, 2008, August 25, 2008, December 2, 2008, February 27, 2009, April 30, 2009,
May 13, 2009, June 2, 2009, November 3, 2009, April 20, 2010, May 12, 2010, July 1,
2010, October 31, 2011, November 2, 2011, December 27, 2011, February 7, 2012, and
March 1, 2012.
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arduous task for an attorney to write down what he does every six minutes,

especially if he is working on the same client’s file all day. But it is not impossible.

Certainly an attorney can break out specific time for working on a motion versus

talking on the telephone versus supplementing discovery responses, especially in a

case like this where Plaintiff planned on seeking to recoup its attorney’s fees from

the day the complaint was filed.

      A number of courts have approved across-the-board billing deductions to

counteract block billing. See, e.g., Pall Corp. v. 3M Purification Inc., 2012 WL

1979297 (E.D.N.Y. 2012) (30 percent reduction); BJCC, LLC v. LeFevre, 2011 WL

5597305 (M.D. Fla. 2011) (10 percent reduction); Ceres Envtl. Servs., Inc. v. Colonel

McCrary Trucking, LLC, 2011 WL 1883009 (S.D. Ala. 2011), aff’d, 2012 WL

1414994 (11th Cir. 2012) (10 percent reduction); 2002 Irrevocable Trust for Richard

C. Hvizdak v. Shenzhen Dev. Bank, Co., Ltd., 2011 WL 4112776 (M.D. Fla. 2011)

(20 percent reduction). Based on its review of the billing records, the Court believes

a 10 percent reduction of all hours claimed by Plaintiff for DeMott is appropriate.

Thus, the revised hour calculation for DeMott is 1,443.94 hours.

      Finally, the Court notes that in determining a reasonable fee, the hours spent

on unsuccessful claims must be excluded. Norman, 836 F.2d at 1302. Plaintiff

acknowledges that it was not successful on its claims for false advertising, trade

dress infringement, conversion, inducing breach, tortious interference with

prospective business relations, partnership, and defamation. Counsel states that he

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has eliminated hours directly attributable to those claims. Counsel further states that

he has eliminated hours attributable to its defense of Defendants’ counterclaims and

its tortious interference claims. Defendants also correctly point out that Plaintiff was

unsuccessful on its misappropriation of trade secrets claim and use of advertising

ideas claim. Plaintiff was also unsuccessful on its alter ego claim, its claims against

LeBlanc’s LLC, and its false designation claims against Lloyd LeBlanc, Edna

LeBlanc, and MWA.

         A review of the billing statements shows that certain entries were reduced or

eliminated by counsel as being “unsuccessful” or “unrelated.”8 However, it is not

clear why certain reductions were made, or how the amounts of the deductions were

determined. Some entries are reduced by half, others by one-third. Further, the

reductions are not consistent. For instance, Plaintiff filed a motion for preliminary

injunction that was only partially successful. Some of the time entries relating to the

preliminary injunction were reduced as being unsuccessful, while other entries

relating to the same matter are left untouched. Compare April 24, 2008 entry to April

28, 2008 entry. Similarly, while counsel states that time relating to Plaintiff’s defense

of Defendants’ counterclaims was excluded that was not consistently done. Time

was spent on April 5, 2010 and April 6, 2010 relating to the counterclaims, but no




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    The hours for which Plaintiff seeks reimbursement are the reduced hours.


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reductions were made. Again, this is mainly an issue with the hours billed by DeMott,

who did the overwhelming majority of the work on the case. While the Court certainly

appreciates counsel’s effort to make reductions for unsuccessful and unrelated hours

billed, it finds that a further reduction is warranted. The Court declines to make a line

by line analysis of five years of billing records, and instead will reduce DeMott’s total

hours by another five percent to account for the remaining unsuccessful claims. This

leaves him with a total of 1,371.74 hours.

      Multiplying the reasonable hourly rate by the reasonable hours expended

yields the following lodestar amounts:

   Timekeeper          Number of Hours          Hourly Rate                  Fee


Drew DeMott           1,371.74               $225                   $308,641.50


James Thagard         12.9                   $250                   $3,225


David Garland         1.5                    $225                   $375


Jason Willcox         0                      $225                   $0


Kim Minix             0.4                    $200                   $80


Matthew Eutzler       14.8                   $175                   $2,590


James Edge            2                      $175                   $350




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Matthew Monroe        216.54                  $175                   $37,894.50


Lee Brown             118.6                   $130                   $15,418


Bart Davis            10.44                   $125                   $1,305


Kimberly Shirley      3.4                     $75                    $255


Ashlee Morris         48.7                    $55                    $2,678.50


Jennifer Walters      0.6                     $75                    $45


Lindsey Bobby         0                       $75                    $0




      The lodestar amount of fees due Plaintiff from Defendants is $372,857.50.

      C.     Lodestar Adjustment

      Plaintiff contends that the attorney’s fees award should be adjusted upward by

15 percent because of counsel’s “superior representation” which obtained

“exceptional results.”

      The lodestar amount may be adjusted, but there is a “strong presumption” that

the lodestar is the reasonable sum the attorneys deserve. Perdue v. Kenny A. ex rel.

Winn, --- U.S. ---, 130 S.Ct. 1662, 1673 (2010). “Upward adjustments of the lodestar

figure are still permissible . . . in certain ‘rare’ and ‘exceptional’ cases, supported by

both ‘specific evidence’ on the record and detailed findings by the lower courts.”


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Delaware Valley, 478 U.S. at 565 (quoting Blum, 465 U.S. at 898-901); see also

Perdue, 130 S.Ct. at 1673.

      After careful consideration, the Court finds that an enhancement is not

warranted in this case. The results of the litigation and the quality of counsel’s

representation are already accounted for in the lodestar. Factors already accounted

for in the lodestar cannot be the basis for enhancing the lodestar. Perdue, 130 S.Ct.

at 1673. The “party seeking fees has the burden of identifying a factor that the

lodestar does not adequately take into account and proving with specificity that an

enhanced fee is justified.” Id. at 1669. Plaintiff has not met that burden. The request

for the 15 percent enhancement is denied.

      D.     Nontaxable Expenses

      Plaintiff also requests that the Court award nontaxable expenses under

Federal Rule of Civil Procedure 54(d)(2)(A) in the amount of $6,606.93. This amount

consists of $150.45 for telephone and fax costs, $1,468.83 in mileage costs, $734.83

in mailing costs, and $4,252.82 in computer research fees. The Court finds the

telephone and fax costs, mileage costs, and mailing costs to be reasonable and will

allow them. On the other hand, the Court denies the request for the computer

research fees. Computer research is generally considered part of attorney’s fees

rather costs. Haroco, Inc. v. Am. Nat’l Bank & Trust Co. of Chicago, 38 F.3d 1429,

1440 (7th Cir. 1994). As Plaintiff has to establish its entitlement to attorney’s fees,

Plaintiff similarly has to establish its entitlement to the computer research costs. The

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entries contained in the billing statements merely read “Computer Research

(LexisNexis)” or “Computer Research (PACER).” That simply is not enough

information for the Court to determine the reasonableness of the charges. The Court

is not “responsible for combing through these various ledger entries and making

educated guesses as to what legal research was performed on various dates, and

whether the amount charged for that research is reasonable.” Dupuy v. McEwen, 648

F.Supp.2d 1007, 1031 (N.D. Ill. 2009). The Court will allow $2,354.11 in non-taxable

costs.

         E.    Conclusion as to Attorney’s Fees

         Plaintiff’s Motion for Attorney’s Fees (Doc. 303) is granted, in part, and denied,

in part. The Court orders Defendants to pay Plaintiff $372,857.50 in attorney’s fees

and $2,354.11 in non-taxable costs, for a total award of $375,211.61.

V.       COUNTERCLAIM FILED BY JEFF LEBLANC, JODY LEBLANC, AND DSI

         Jeff LeBlanc, Jody LeBlanc, and DSI brought a counterclaim against Plaintiff

in which they asked the Court to cancel and remove the lid knob trademark from the

USPTO Supplemental Register. The Court has discretion under 15 U.S.C. § 1119 to

order the cancelation of a trademark. As no party moved for summary judgment on

this counterclaim, the Court reserved ruling until after the trial of the case.

         In light of the jury’s findings with respect to the lid knob trademark, the Court

finds it would be inappropriate to cancel the lid knob trademark. The counterclaim

filed by Jeff LeBlanc, Jody LeBlanc, and DSI is dismissed.

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VI.   CONCLUSION

      Defendants’ Motion for Judgment as a Matter of Law, for Equitable Revision

Pursuant to 15 U.S.C. § 1117(a), and/or in the alternative, for New Trial, or Partial

New Trial, or Remittitur (Doc. 296) is denied. Plaintiff’s Motion for Statutory

Damages (Doc. 299) is granted, in part, and denied, in part. Plaintiff shall have until

July 6, 2012 to make its statutory damages election in writing. Plaintiff’s Motion for

Permanent Injunctive Relief (Doc. 300) is granted, in part, and denied, in part.

Plaintiff’s Motion for Attorney’s Fees (Doc. 303) is granted, in part, and denied, in

part. Defendants are ordered to pay Plaintiff $372,857.50 in attorney’s fees and

$2,354.11 in non-taxable costs, for a total award of $375,211.61. The counterclaim

filed by Jeff LeBlanc, Jody LeBlanc, and DSI is dismissed. Final judgment will be

entered shortly after Plaintiff makes its election as to statutory damages. Plaintiff’s

Bill of Costs will be submitted to the Clerk of Court for consideration and decision.

      SO ORDERED this 29th day of June, 2012.

                                 /s/ Hugh Lawson
                                 HUGH LAWSON, SENIOR JUDGE
mbh




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